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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------- x
                               :
CARLTON KNOWLES, ON BEHALF
                               :
OF HIMSELF AND ALL OTHER
                               :
PERSONS SIMILARLY SITUATED,
                               :                 No.: 1:24-cv-01461-LJL
                               :
                  Plaintiffs,
                               :                 NOTICE OF VOLUNTARY
                               :                 DISMISSAL
               v.
                               :
EAST TEXAS BAPTIST UNIVERSITY, :
                               :
                               :
                  Defendant.
 -----------------------------               x

       Plaintiff(s), CARLTON KNOWLES, in accordance with Rule 41(a)(1)(A)(i) of the

Federal Rules of Civil Procedure, hereby dismisses the above entitled action with prejudice and

without fees and costs against Defendant, EAST TEXAS BAPTIST UNIVERSITY.

Dated: New York, New York
       July 10, 2024


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SO ORDERED:



_____________________________
United States District Court Judge
